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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                               FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
 v.                                          )          Criminal No. 5:21CR50014-001
                                             )
JOSHUA JAMES DUGGAR                          )


                   UNITED STATES’ UNOPPOSED MOTION FOR
               AN EXTENSION OF TIME TO FILE RESPONSIVE BRIEFS

       Comes now the United States of America, by and through Carly Marshall, Assistant

United States Attorney for the Western District of Arkansas, and for its Motion for an Extension

of Time to File Responsive Briefs, states as follows:

       1.      On August 20, 2021, the defendant caused to be filed five (5) separate motions,

namely Defendant’s Motion to Suppress Statements and Request for Evidentiary Hearing (Doc.

36); Defendant’s Motion to Suppress Evidence and Request for Franks Hearing (Doc. 37);

Defendant’s Motion to Suppress Photographs of Duggar’s Hands and Feet While in Custody

(Doc. 38); Defendant’s Motion to Dismiss Indictment for Violation of the Appointment Clause

(Doc. 39); and Defendant’s Motion to Dismiss for Government’s Failure to Preserve Potentially

Exculpatory Evidence (Doc. 40).

       2.      Per the Amended Pretrial Scheduling Order (Doc 29), responsive briefs to the

above listed motions are due fourteen (14) days after the motions were filed to the docket, which

currently corresponds to September 3, 2021. In order for the Government to fully and completely

address all issues raised by the defendant in his motions therein, the Government respectfully

requests a seven (7) day extension of the responsive filing deadline. If granted, the new deadline


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for the Government to file responsive briefs to the defendant’s five (5) respective motions would

be September 10, 2021.

3.     In anticipation of this motion, the Government has conferred with defense counsel, who

have no objection to the Government’s request for a seven (7) day extension.

       WHEREFORE, for the foregoing reasons, the United States prays this Court grant an

extension of seven (7) days to file its responsive briefs to the above listed motions.

                                              Respectfully submitted,

                                              David Clay Fowlkes
                                              Acting United States Attorney

                                              By:     /s/ Carly Marshall
                                                      Carly Marshall
                                                      Assistant U.S. Attorney
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                                 CERTIFICATE OF SERVICE

        I, Carly Marshall, hereby certify that on September 1, 2021, electronically filed the
foregoing with the Clerk of the Court using the CM/ECF System which will send notification of
such filing to the following:

               Justin Gelfand, attorney for the Defendant
               Travis Story, attorney for the Defendant
               Greg Payne, attorney for the Defendant

                                                      /s/ Carly Marshall
                                                      Carly Marshall
                                                      Assistant U.S. Attorney




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